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                     EXHIBIT 3
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                          In The Matter Of:
                              LONG vs.
                             FERNANDEZ




               LIEUTENANT JERRY FERNANDEZ
                      August 21, 2023




                      Challe, Fisher & Morfin
                         1828 South Street
                     Redding, California 96001
                           (530)246-0942
                         cfmdepos@att.net




                           Original File J. Fernandez.txt
                     Min-U-Script® with Word Index
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                 UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF CALIFORNIA
                      SACRAMENTO DIVISION
                           ---O0O-
E.L. a minor, by and through her general
guardian, JESSICA LONG; JESSICA LONG, an
individual,

               Plaintiffs,
                                                Case No. 2:22-cv
                          2:22-cv-01527
         vs.
LIEUTENANT JERRY FERNANDEZ individually
and in his individual capacity as
Sheriff for the County of Shasta;
DETECTIVE JACOB DUNCAN, individually and
in his individual capacity as Sheriff for
the County of Shasta; DETECTIVE JEREMY
ASHBEE, individually and in his
individual capacity for the County of
Shasta; SHASTA DISTRICT FAIR AND EVENT
CENTER, a district agricultural
association; COUNTY OF SHASTA; SHASTA
COUNTY SHERIFF'S DEPARTMENT; MELANIE
SILVA, in her individual capacity; BJ
MACFARLANE, in his individual capacity;
and DOES 1 through 10,
              Defendants.
_________________________________________/

                VIDEO RECORDED DEPOSITION OF
                  LIEUTENANT JERRY FERNANDEZ
                   MONDAY, AUGUST 21, 2023
                           9:41 a.m.


         Reported by:   JULIE BANGHART, CSR NO. 10547

                          Challe, Fisher & Morfin
                     Redding, California (530)246-0942
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                                   LIEUTENANT JERRY FERNANDEZ


         1          MR. GORDON:    Hour and 19 minutes.   All right.    Just
         2   trying to get a gauge on the time here.
         3   Q.     Okay.   So when we left off, Lieutenant, you said that
         4   you did not know Jessica Long before the events of --
11:27    5   leading up to this case.      Correct?
         6   A.     Yes, sir.
         7   Q.     Nor did you know her daughter E.L.      Of course, you
         8   know the daughter's name, but for the lawsuit we need to use
         9   the abbreviation.
11:27   10          Okay.   So when did you first learn of Jessica
        11   removing Cedar from the -- when I say "the fair," I mean the
        12   2022 Shasta County District Fair.
        13   A.     I first learned about it when -- I want to say it was
        14   either the very end of June or beginning of July.
11:27   15   Q.     And who told you?
        16   A.     I was -- the Sheriff, Michael Johnson, told me that I
        17   needed to reach out to the fair or people from the fair in
        18   regards to a theft of a goat.
        19   Q.     Okay.   Michael Johnson.    You said the Sheriff.
11:28   20          So he's the elected Sheriff?
        21   A.     He is the elected Sheriff, yes.
        22   Q.     Okay.   Do you know who told him?
        23   A.     I do not.
        24   Q.     Okay.   Did you ask?
11:28   25   A.     I did not.

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                                      LIEUTENANT JERRY FERNANDEZ


         1   Q.       Okay.   All right.   And this is end of July -- no, I'm
         2   sorry.   I apologize -- end of June, beginning of July?
         3   A.       Yes, sir.
         4   Q.       Okay.   Thank you.   Okay.   So did he give you any --
11:28    5   what other details did Michael Johnson give you?           Sheriff
         6   Johnson.   I'm not trying to be disrespectful.       Whatever the
         7   proper term is.
         8   A.       Sheriff Johnson.
         9   Q.       Sheriff Johnson.
11:28   10            Is that what you call him?     Sheriff Johnson?
        11   A.       Yes, Sheriff.    Just that the goat was stolen and that
        12   because of my collateral assignment as a livestock
        13   investigator, that I needed to reach out to the people from
        14   the fair and basically conduct an investigation.
11:29   15   Q.       Okay.   So I didn't ask you this earlier, so I'm sorry
        16   to bounce back chronologically.       Your collateral assignment
        17   is a livestock investigator.
        18            What are your other current assignments?
        19   A.       So my current assignment is I'm a Station Commander
11:29   20   for the Sheriff's Office, the South County Station.
        21   Q.       Okay.
        22   A.       So I oversee that station.
        23   Q.       Okay.   How many stations are there in Shasta?
        24   A.       Three stations.
11:29   25   Q.       Which ones?   Like South, North and West or something?

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                                    LIEUTENANT JERRY FERNANDEZ


         1   Q.     Okay.   Okay.
         2   A.     Somewhere around there.
         3   Q.     You don't need to do the math.
         4   A.     I'm not good at math.      I always joke about that.
11:34    5   Q.     All right.    So Sheriff Johnson tells you to go
         6   investigate this.    And you don't know who told -- do you
         7   know when he learned of this?
         8   A.     It was the same time that I conducted the -- or began
         9   the investigation.     So that was the same time frame, end of
11:34   10   June, beginning of July.
        11   Q.     Okay.   And what narrative or facts did he tell you?
        12   A.     Just that the -- that the goat had been stolen and to
        13   reach out to whoever I know at the fair to basically
        14   conduct -- start the investigation.
11:34   15   Q.     Okay.   All right.    Do you know -- did he cite any
        16   Penal Code when he said that?
        17   A.     No.
        18   Q.     And did he tell you anything about Jessica Long in
        19   that conversation?
11:35   20   A.     No.
        21   Q.     No.
        22          Anything about her daughter?
        23   A.     No.
        24   Q.     Okay.   Did he say it was in relationship to the
11:35   25   livestock auction at the fair.

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                                     LIEUTENANT JERRY FERNANDEZ


         1   Q.     The very last one.     Okay.   That's 68.   This one here
         2   that's black and white?     Do you see that?
         3   A.     Yeah.
         4   Q.     68.
04:50    5   A.     So 65 through 68.
         6   Q.     65 through 68.     That's where it is.   Okay.
         7          So then at this point you're in Napa County.
         8          What time is it at this point?
         9   A.     9:00, a little after 9:00 probably.
04:51   10   Q.     A little after 9:00.      Okay.
        11          And then you headed back to Redding?
        12   A.     Yes, sir.
        13   Q.     Okay.   And --
        14   A.     Well, we headed back towards north.
04:51   15   Q.     Headed north.     Okay.
        16          Were you going -- well, someplace on the way?
        17   A.     Yeah.   So we were going to meet -- so at that point I
        18   had notified Kathi that we had located the goat and that we
        19   were on our way back, as well as BJ Mcfarlane or Bruce
04:51   20   Mcfarlane.
        21   Q.     Yeah.
        22   A.     And then --
        23   Q.     We call him BJ.     We know who he -- that's the name --
        24   A.     Yeah, that's how I've know him.
04:51   25   Q.     -- my client calls him.

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                                   LIEUTENANT JERRY FERNANDEZ


         1   A.     And then due to the time of -- projected time of our
         2   arrival back into Shasta County, Ms. Muse requested that we
         3   leave the goat in the care and custody of Mcfarlane.
         4   Q.     Okay.    So did you speak with Kathi Muse on the phone?
04:52    5   A.     Yes.
         6   Q.     Okay.    What did you -- what did she say on the phone?
         7   A.     Just -- I can't recall everything she said.       I think
         8   she was excited that we got the goat and that to -- based on
         9   the time of night, to just leave it with her agent, which
04:52   10   would have been Mcfarlane.
        11   Q.     Okay.    Did she give you any -- give any documentation
        12   she was -- he was her agent or she just said leave him with
        13   Mcfarlane?    Did she use the term "agent"?
        14   A.     No, that's my term.     Yeah.
04:52   15   Q.     All right.   All right.    And -- now, you called her?
        16   A.     To the best of my recollection, yes.
        17   Q.     Okay.    And about how long did you speak with her?
        18   A.     Not very long, like 30 seconds, a minute.
        19   Q.     Just said "We got him?"
04:52   20   A.     Yeah.    "We got him.   We're on our way back.    Probably
        21   be home around midnight."
        22   Q.     Okay.
        23   A.     And then she -- and then I -- either she suggested
        24   that I leave him with Mcfarlane, and I reached out to
04:53   25   Mcfarlane, let him know per Muse she wanted me to leave him

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                                     LIEUTENANT JERRY FERNANDEZ


         1   Sheriff said to -- strike that.
         2           Does Sheriff Michael Johnson -- is --
         3   A.      That's his --
         4   Q.      It is his name.    Okay.
04:59    5           Does he have any relationship that you know with the
         6   Fair?
         7   A.      Not that I know of, no.
         8   Q.      No.
         9           Or with Kathi Muse?
04:59   10   A.      Not that I'm aware of.
        11   Q.      Or with, you know, the Dahles?
        12   A.      Not that I'm aware of.
        13   Q.      Okay.    All right.   Does he have any ties to
        14   agriculture?
05:00   15   A.      He's a Sheriff, so agriculture in pretty much any
        16   county you go to is one of the bigger --
        17   Q.      Sure.
        18   A.      I think they're going to be at the Board of
        19   Supervisors tomorrow.     Usually agriculture has a lot of
05:00   20   influence within counties, but I don't know -- I can't speak
        21   for my Sheriff.
        22   Q.      Okay.    But you would expect -- but you would expect,
        23   just because the nature of position that, you know, they
        24   have his ear?
05:00   25   A.      Right.   Well, they would have his ear and --

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                                    LIEUTENANT JERRY FERNANDEZ


         1           MR. NORTHCUTT:    Well, do you know one way or the
         2   other or are you speculating?
         3           THE WITNESS:    That would be a speculation.       I do know
         4   from talking with him that it wasn't just a big deal here.
05:00    5   It was a big deal with a lot of the fair boards within
         6   Shasta County.
         7   Q.      MR. GORDON:    Where else was it a big deal?
         8   A.      I don't know the names of those fairs.
         9   Q.      Do you know -- do you know -- oh, well you said "fair
05:01   10   boards."
        11   A.      Yeah.
        12   Q.      So what other fairs?     Are there other fairs in Shasta
        13   County?    I thought it was one per county.
        14   A.      No, the State of California.
05:01   15   Q.      The State.    Okay.
        16           What other fairs was it a big deal with, if you know?
        17   A.      I don't know those -- I don't know the particulars on
        18   that.
        19   Q.      Who did you hear it from?
05:01   20   A.      The Sheriff.
        21   Q.      The Sheriff.    Okay.
        22           That people were pissed that Cedar was removed?
        23   A.      Yeah, I think it was -- or from my recollection, it
        24   was reported to him that this is -- right, that this is
05:01   25   not -- yes, it affects Shasta District Fair and we have to

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                                     LIEUTENANT JERRY FERNANDEZ


         1   investigate it, but there's other fair boards reaching out
         2   to our fair board about this is pretty serious stuff, and
         3   that --
         4   Q.      So other fair boards reached out to Shasta and
05:01    5   said --
         6   A.      It sounds like it, yeah.
         7   Q.      And said put your foot down on this?
         8   A.      No, I won't say put your foot down, but if there's a
         9   crime, investigate it.      So that's what I did.
05:02   10   Q.      Okay.   Okay.    Let's get into -- let's get into some
        11   of these text messages here.
        12           So, Officer, if you go to 125 they start.           There's
        13   not many.
        14   A.      Zero zero what?     0025?
05:02   15   Q.      Yeah, yeah.     It's the last -- last -- I'm just saying
        16   125 for shorthand.      000125.
        17           MR. NORTHCUTT:     I don't know if we have --
        18           MR. GORDON:     Oh, I'm sorry.    No, no, no, no.
        19           MR. NORTHCUTT:     The only think he's got is his
05:02   20   investigative report.
        21           MR. GORDON:     We've been on that exhibit for so long.
        22           THE WITNESS:     Yeah, sorry.
        23           MR. GORDON:     My apologies.
        24           Do you need -- Damian, do you need copies?
05:02   25           MR. NORTHCUTT:     Sure.    If you don't have enough, we

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                           LIEUTENANT JERRY FERNANDEZ


 1                          PENALTY OF PERJURY
 2
 3           I, the undersigned, hereby certify that I have read
 4   the foregoing deposition, that I know the contents thereof,
 5   and I declare under penalty of perjury under the laws of the
 6   State of California that the foregoing is true and correct,
 7   and that there are:
 8
 9   (Check one)                      _____   NO CORRECTIONS
10                                    _____   CORRECTIONS AS ATTACHED
11
12         Executed this _____ day of _________________, 2023.
13
14
15
16
17
18                             _________________________________
19                                   LIEUTENANT JERRY FERNANDEZ
20
21                             ---o0o---
22
23
24
25

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                           LIEUTENANT JERRY FERNANDEZ


 1                          PENALTY OF PERJURY
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 4   the foregoing deposition, that I know the contents thereof,
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 7   and that there are:
 8
 9   (Check one)                      _____   NO CORRECTIONS
10                                    _____   CORRECTIONS AS ATTACHED
11
12         Executed this _____ day of _________________, 2023.
13
14
15
16
17
18                             _________________________________
19                                   LIEUTENANT JERRY FERNANDEZ
20
21                             ---o0o---
22
23
24
25

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 1                          CERTIFICATE OF REPORTER

 2

 3           I, JULIE BANGHART, a Certified Shorthand Reporter,
      licensed by the State of California, License No. 10547,
 4    being empowered to administer oaths and affirmations
      pursuant to Section 2093(b)(1) of the Code of Civil
 5    Procedure, do hereby certify:

 6           That the witness in the foregoing deposition,
      LIEUTENANT JERRY FERNANDEZ, was present at the time and
 7    place specified and was by me sworn to testify to the truth,
      the whole truth, and nothing but the truth;
 8
             That said proceeding was taken before me in shorthand
 9    writing, and was thereafter transcribed under my direction
      by computer-aided transcription;
10
             That the foregoing transcript constitutes a full,
11    true, and accurate record of the proceedings which took
      place;
12
              That I am not of counsel of attorney for any of the
13    parties hereto, or in any way interested in the event of
      this cause, and that I am not related to any of the parties
14    hereto.

15           IN WITNESS WHEREOF, I have hereunto subscribed my
      signature on this 11th day of October, 2023.
16

17

18

19

20                                             Julie Banghart
                                            ____________________________

21                                           JULIE BANGHART, CSR 10547

22

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